           Case 2:20-cr-00151-ODW  Document
                                UNITED      30 DISTRICT
                                       STATES   Filed 05/08/20 Page 1 of 5 Page ID #:89
                                                           COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
         MINUTES - DETENTION HEARING - REVIEW/RECONSIDERATION OF BAIL / DETENTION ORDER -
                                          NEBBIA HEARING

Case No. 2:20-cr-00151-ODW                                      CourtSmart CS 05/08/2020             Date: May 8, 2020
Present: The Honorable Rozella A. Oliver                                                                    , U.S. Magistrate Judge
        Donnamarie Luengo                         Samuel Diaz (Video appearance)                          Jill Hoskins/Spanish*
               Deputy Clerk                            Assistant U.S. Attorney                              Interpreter / Language
                                                                                                        WUDQVODWLRQIRUVXUHWLHVRQO\
 USA v. Jessie Debora                                              Attorney Present for Defendant:
        (Video appearance)                                          Victor Sherman (Video appearance)
 ✔ Present
 G               ✔Custody G Bond
                 G                    G Not present                ✔Present G CJA G
                                                                   G                   ✔Retd G DFPD            G Not present

PROCEEDINGS: DETENTION HEARING
G Government’s request for detention is: G GRANTED G DENIED G WITHDRAWN G CONTINUED
G Witnesses CST (see separate list).         G Exhibits Marked/Admitted (see separate list).
G Court orders that exhibits be returned to the respective counsel / party of record.
   G See Receipt for Release of Exhibits to Counsel.
G Counsel stipulation to bail.
G Court finds presumption under 18 USC 3142e                                      has not been rebutted.
G Court ORDERS DEFENDANT PERMANENTLY DETAINED. See separate detention order.
G Court finds presumption under 18 USC 3142e                                      has been rebutted.
G Court sets bail at: $                                        .        G SEE ATTACHED COPY OF CR-01 BOND FORM
   FOR CONDITIONS OF RELEASE.
G Court orders that defendant be detained for a period not to exceed ten (10) Court days. See separate order re temporary detention.
G Court orders further detention / bail hearing to be set on                                        at              Ga.m. / Gp.m. in
   Courtroom                                          before Judge                                                           .
G Court orders case continued to                               at                 Ga.m. / Gp.m. for                          , in
   Courtroom                                 before Judge                                                                    .
G Release Order Issued - Release No.                                              .
G Other:


PROCEEDINGS:                  ✔ REVIEW / RECONSIDERATION OF BAIL / DETENTION ORDER - BOND HEARING
                              G
                              G NEBBIA HEARING
                          ✔ Defendant’s request for review / reconsideration of bail / detention order had and request is:
 Hearing on G Plaintiff’s G
                          ✔ GRANTED G DENIED
                          G
 Court ORDERS bail as to the above-named defendant G modified to G     ✔set at: $ 200,000.00
     ✔
     G SEE ATTACHED COPY OF CR-01 BOND FORM FOR CONDITIONS OF RELEASE.
 G Bond previously set is ordered vacated.
 G Court orders defendant permanently detained. See separate order.
 G Court denies request for bail, defendant shall remain permanently detained as previously ordered.
 G Witnesses CST (see separate list).        G Exhibits Marked / Admitted (see separate list).
 G Court orders that exhibits be returned to the respective counsel / party of record.
   G See Receipt for Release of Exhibits to Counsel.
 G Case continued to                                   at                 G a.m. / G p.m. for
   before Judge                                                                    in Courtroom                        .
 G Nebbia conditions are satisfied and the Government approves the bond package as presented to the Court.
 ✔ Other Bond is stayed until 5-12-2020. Bond emailed to counsel for defendant's signature.
 G


 Release Order Issued - Release No.                                                                                    : 36
                                                                                          Deputy Clerk Initials DL

M-46 (06/10)     MINUTES - DETENTION HEARING - REVIEW/RECONSIDERATION OF BAIL / DETENTION ORDER - NEBBIA HEARING
                     Case 2:20-cr-00151-ODW Document
                                 *BOND STAYED        30 Filed
                                              UNTIL CLOSE     05/08/20 ON
                                                          OF BUSINESS  Page 2 of12,
                                                                          MAY    5 2020*
                                                                                    Page ID #:90

                     UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

    Case Name: United States of America v. Jessie Debora                                                   Case No. 2:20-cr-00151-ODW
                                                      ■    Defendant         Material Witness

    Violation of Title and Section: 21:841(a)(1), (b)(1)(C), (b)(1)(B)(vi)
                                              Summons           Out of District        Under Seal           Modified Date:

  Check only one of the five numbered boxes below (unless one bond is to be replaced by another):
  1.    Personal Recognizance (Signature Only)          (c).    Affidavit of Surety With Justification             Release No.
                                                                (Form CR-3) Signed by:
  2.    Unsecured Appearance Bond
         $                                                   Bertha and Julian Debora
                                                                                                                          Release to Pretrial ONLY
    3.           Appearance Bond                                                                                          Release to Probation ONLY
                 $ 200,000.00                                                                                             Forthwith Release
          (a).      Cash Deposit (Amount or %) (Form CR-7)
                                                                               With Full Deeding of Property:
                                                                            15946 Bluefield Ave.
          (b).      Affidavit of Surety Without
                    Justification (Form CR-4) Signed by:                    La Mirada, CA 90638
                                                                                                                          All Conditions of Bond
                                                                                                                          (Except Clearing-Warrants
                                                                                                                          Condition) Must be Met
                                                                                                                          and Posted by:



                                                                                                                          Third-Party Custody
                                                               4.      Collateral Bond in the Amount of (Cash             Affidavit (Form CR-31)
                                                                       or Negotiable Securities):
                                                                       $                                              ■ Bail Fixed by Court:
                                                               5.      Corporate Surety Bond in the Amount of:        RAO       / DL
                                                                        $                                                 (Judge / Clerk's Initials)


                                                             PRECONDITIONS TO RELEASE
          The government has requested a Nebbia hearing under 18 U.S.C. § 3142(g)(4).
          The Court has ordered a Nebbia hearing under § 3142 (g)(4).
          The Nebbia hearing is set for                                        at                 a.m.    p.m.

                                                        ADDITIONAL CONDITIONS OF RELEASE
In addition to the GENERAL CONDITIONS of RELEASE, the following conditions of release are imposed upon you:
■    Submit to:          ■   Pretrial Services Agency (PSA) supervision as directed by PSA;       Probation (USPO) supervision as directed by USPO.
                      (The agency indicated above, PSA or USPO, will be referred to below as "Supervising Agency.")

■    Surrender all passports and travel documents to Supervising Agency no later than                                                , sign a Declaration
         re Passport and Other Travel Documents (Form CR-37), and do not apply for a passport or other travel document during the pendency
         of this case.
■    Travel is restricted to CAC                                                                    unless prior permission is granted by Supervising
         Agency to travel to a specific other location. Court permission is required for international travel.
■    Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency.
■    Maintain or actively seek employment and provide proof to Supervising Agency.              ■   Employment to be approved by Supervising Agency.
     Maintain or begin an educational program and provide proof to Supervising Agency.
                                                                                        Defendant's Initials:                Date:
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  Case Name:Case
             United2:20-cr-00151-ODW             Document
                    States of America v. Jessie Debora                    30 Filed 05/08/20 Page
                                                                                              Case3No.
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                                                                                                       2:20-cr-00151-ODW
                                                      ■   Defendant        Material Witness
       Avoid all contact, directly or indirectly (including by any electronic means), with any person who is a known victim or
       witness in the subject investigation or prosecution,           including but not limited to
                                                                  ;    except                                                             .
   ■   Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence
       of counsel. Notwithstanding this provision, you may contact the following codefendants without your counsel present:
                                                                                                                                                .
       Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons.                 In order to determine compliance,
       you agree to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
       Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your
       own legal or true name without prior permission from Supervising Agency.                 In order to determine compliance, you agree
       to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
       Do not engage in telemarketing.
       Do not sell, transfer, or give away any asset valued at $                                         or more without notifying and obtaining
       permission from the Court, except                                                                                                        .
       Do not engage in tax preparation for others.
       Do not use alcohol.
       Participate in the electronic remote alcohol monitoring program as directed by Supervising Agency and abide by all the rules and
       requirements of the program. You must pay all or part of the costs for treatment based upon your ability to pay as determined by
       Supervising Agency.
   ■   Do not use or possess illegal drugs or state-authorized marijuana.          ■   In order to determine compliance, you agree to
       submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
   ■   Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, synthetic, or
       designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
       prescribed by a medical doctor.
   ■   Submit to:      ■   drug and/or       alcohol testing. If directed to do so, participate in outpatient treatment approved by Supervising Agency.
       You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agency.
       Participate in residential        drug and/or        alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs
       of treatment based upon your ability to pay as determined by Supervising Agency.               Release to PSA only      Release to USPO only
       Submit to a mental health evaluation. If directed to do so, participate in mental health counseling and/or treatment approved by
       Supervising Agency. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.
   ■   Participate in the Location Monitoring Program and abide by all of the requirements of the program, under the direction of Supervising
       Agency, which           will or   ■   will not include a location monitoring bracelet. You must pay all or part of the costs of the program based
       upon your ability to pay as determined by Supervising Agency. You must be financially responsible for any lost or damaged equipment.
        ■      Location monitoring only - no residential restrictions;     - VOICE MONITORING SYSTEM
                                  -or-
               You are restricted to your residence every day:
                        from                     a.m.    p.m. to                         a.m.     p.m.
                        as directed by Supervising Agency;
                                  -or-
                                                                                       Defendant's Initials:                Date:
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             Case
     Case Name:    2:20-cr-00151-ODW
                United States of America v. JessieDocument
                                                   Debora              30 Filed 05/08/20 PageCase
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                                                     ■   Defendant        Material Witness

               You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court appearances, and
                                                                                      , all of which must be preapproved by Supervising Agency;
               Release to PSA only        Release to USPO only
         You are placed in the third-party custody (Form CR-31) of                                                                              .
         Clear outstanding         warrants or     DMV and traffic violations and provide proof to Supervising Agency within             days
          of release from custody.
         Do not possess or have access to, in the home, the workplace, or any other location, any device that offers internet access except
          as approved by Supervising Agency.             In order to determine compliance, you agree to submit to a search of your person
          and/or property by Supervising Agency in conjunction with the U.S. Marshal.
         Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
          the age of 18 except in the presence of a parent or legal guardian of the minor.
         Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children
          under the age of 18.
         Do not be employed by, affiliated with, own, control, or otherwise participate directly or indirectly in the operation of any daycare
          facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.
         Do not view or possess child pornography or child erotica.          In order to determine compliance, you agree to submit to a search
          of your person and/or property, including computer hardware and software, by Supervising Agency in conjunction with the U.S.
          Marshal.
         Other conditions:




                                                  GENERAL CONDITIONS OF RELEASE
  I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
  may be given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
  United States District Court to which I may be removed or to which the case may be transferred.

  I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
  direction in connection with such judgment as the Court may prescribe.

  I will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
  so that I may be reached at all times.

  I will not commit a federal, state, or local crime during the period of release.

  I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
  tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be
  subject to further prosecution under the applicable statutes.

  I will cooperate in the collection of a DNA sample under 42 U.S.C. § 14135a.

                                                                                     Defendant's Initials:               Date:
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             Case
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                                                    ■   Defendant           Material Witness


                                     ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS
     As a condition of my release on this bond, pursuant to Title 18 of the United States Code, I have read or have had interpreted to me
     and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
     all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

     Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
     continue in full force and effect until such time as duly exonerated.

     I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
     release, an order of detention, and a new prosecution for an additional offense which could result in a term of imprisonment and/or
     fine.

     I further understand that if I fail to obey and perform any of the general and/or additional conditions of release of this bond, this bond
     may be forfeited to the United States of America. If said forfeiture is not set aside, judgment may be summarily entered in this
     Court against me and each surety, jointly and severally, for the bond amount, together with interest and costs. Execution of the
     judgment may be issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
     United States, and any cash or real or personal property or the collateral previously posted in connection with this bond may be
     forfeited.




     Date                                   Signature of Defendant / Material Witness                        Telephone Number




     City and State (DO NOT INCLUDE ZIP CODE)



         Check if interpreter is used: I have interpreted into the                                                    language this entire form
          and have been told by the defendant that he or she understands all of it.



     Interpreter's Signature                                                                             Date



     Approved:
                               United States District Judge / Magistrate Judge                           Date

     If cash deposited: Receipt #                                 for $


     (This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)




                                                                                     Defendant's Initials:              Date:
CR-1 (02/18)                                CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                               PAGE 4 OF 4
